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                                           July 26, 2023

     BY REGULAR MAIL AND E-MAIL
     Mary Sherwood, Esq.
     Assistant Corporation Counsel
     Special Federal Litigation Division
     New York City Law Department
     100 Church Street, Room 3-169
     New York, NY 10007

            Re:     Rayne Valentine v. City of New York. – 21-cv-4867 (EK) (VMS)

     Counsel:

            I write to inform you that Mr. Valentine hereby accepts Defendants’ Rule 68
     Offer of Judgment dated July 13, 2023, a copy of which is attached.

            I will contact you separately regarding the outstanding claims for attorney’s fees
     and costs to see if we can reach a stipulation that would avoid the need for a formal
     application to the Court.

            Thank you for your consideration in this matter.

                                                  Yours,



                                                  Gideon Orion Oliver
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  RAYNE VALENTINE,

                                                               Plaintiff,

                                -against-                                     RULE 68
                                                                              OFFER OF JUDGMENT
  THE CITY OF NEW YORK; MAYOR BILL DE
  BLASIO; NEW YORK CITY POLICE DEPARTMENT
  (“NYPD”) COMMISSIONER DERMOT SHEA; NYPD                                     21-CV-4867 (ERK) (VMS)
  OFFICER DIMITRI KALININ, SHIELD NUMBER
  27547; NYPD OFFICER MICHAEL LICATA, SHIELD
  NUMBER 27684; NYPD OFFICER ALNALDO
  RODRIGUEZ, SHIELD NUMBER 27536; NYPD
  OFFICER DOUGLAS SHEEHAN, SHIELD NUMBER
  26759; NYPD OFFICER ARTHUR VANZILEN,
  SHIELD NUMBER 29090; NYPD OFFICER JOHN
  VARGAS, SHIELD NUMBER 16643; NYPD OFFICER
  NASIMDZHON MELIKOV, TAX REGISTRY NUMBER
  964164; NYPD OFFICER STEVEN ZANCA, SHIED
  NUMBER 4377; NYPD SERGEANT ROBERT
  BELLANTONIO, TAX REGISTRY NO. 948651; NYPD
  SERGEANT MATTHEW JOZWICKI, SHIELD
  NUMBER 04905; NYPD SERGEANT BILL
  MORRISSEY; NYPD DETECTIVE GABRIEL
  ECHEVARRIA, SHIELD NUMBER 6488; NYPD
  DETECTIVE RAYMOND GORDON, SHIELD
  NUMBER 4592; NYPD DETECTIVE JOHN HOLLAND,
  SHIELD NUMBER 4102;NYPD DETECTIVE AMJAD
  KASAJI, SHIELD NO. 6901; NYPD DETECTIVE
  WARREN ROHAN, SHIELD NUMBER 2378; NYPD
  DETECTIVE MICHAEL SCOLOVENO, SHIELD
  NUMBER 5901; NYPD DETECTIVE ANIBAL TORRES,
  SHIELD NUMBER 2123; and NYPD MEMBERS JOHN
  DOES 1-11,

                                                           Defendants.

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                   Pursuant to Rule 68 of the Federal Rules of Civil Procedure, defendants, and any

  defendant who is currently or subsequently named and hereafter represented by the Office of the
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  Corporation Counsel in this action, hereby offer to allow plaintiff Rayne Valentine to take a

  judgment against the City of New York in this action for the total sum of One Hundred Twenty-

  Five Thousand and One ($125,001.00) Dollars, plus reasonable attorneys’ fees, expenses, and

  costs to the date of this offer for plaintiff’s federal claims.

                    This judgment shall be in full satisfaction of all federal and state law claims or

  rights that plaintiff may have to damages, or any other form of relief, arising out of the alleged

  acts or omissions of defendants or any official, employee, or agent, either past or present, of the

  City of New York, or any agency thereof, in connection with the facts and circumstances that are

  the subject of this action.

                    This offer of judgment may only be accepted by written notice within 14 days

  after being served.

                    This offer of judgment is made for the purposes specified in Rule 68 of the

  Federal Rules of Civil Procedure and is not to be construed as an admission of liability by

  defendants or any official, employee, or agent of the City of New York, or any agency thereof;

  nor is it an admission that plaintiff has suffered any damages.

                    Acceptance of this offer of judgment will act to release and discharge defendants;

  their successors or assigns; and all past and present officials, employees, representatives, and

  agents of the City of New York, or any agency thereof, from any and all claims that were or

  could have been alleged by plaintiff arising out of the facts and circumstances that are the subject

  of this action.

                    Acceptance of this offer of judgment also will operate to waive plaintiff's rights to

  any claim for interest on the amount of the judgment.
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                Plaintiff Rayne Valentine agrees that payment of One Hundred Twenty-Five

  Thousand and One ($125,001.00) Dollars within ninety (90) days of the date of acceptance of the

  offer shall be a reasonable time for such payment, unless plaintiff received medical treatment in

  connection with the underlying claims in this case for which Medicare has provided, or will

  provide, payment in full or in part. If plaintiff Rayne Valentine is a Medicare recipient who

  received medical treatment in connection with the claims in this case, the ninety (90) day period

  for payment shall start to run from the date plaintiff submits to counsel for defendants a final

  demand letter from Medicare.

                By acceptance of this Rule 68 Offer of Judgment, plaintiff Rayne Valentine

  agrees to resolve any claim that Medicare may have for reimbursement of conditional payments

  it has made as secondary payer, and a Medicare Set-Aside Trust shall be created, if required by

  42 U.S.C. § 1395y(b) and 42 C.F.R. §§ 411.22 through 411.26. Plaintiff Rayne Valentine further

  agrees to hold harmless defendants and all past and present officials, employees, representatives

  and agents of the City of New York, or any agency thereof, regarding any past and/or future

  Medicare payments, presently known or unknown, made in connection with this matter.
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                  The judgment shall contain and recite the terms and conditions set forth herein.

  Dated:          New York, New York
                  July 13, 2023


                                                HON. SYLVIA O. HINDS-RADIX
                                                Corporation Counsel of the
                                                       City of New York
                                                Attorney for Defendants
                                                100 Church Street, Room 3-169
                                                New York, New York 10007
                                                (212) 356-2425


                                                By
                                                       Mary K. Sherwood
                                                       Assistant Corporation Counsel
  To:      Elena Louisa Cohen (via US Mail & Email)
           Cohen Green PLLC
           1639 Centre Street
           Suite 216
           Ridgewood, NY 11385
           929-888-9650
           Email: elenacohenesq@gmail.com

           Gideon Orion Oliver (via US Mail & Email)
           Attorney at Law
           277 Broadway
           Suite 1501
           New York, NY 10007
           646-263-3495
           Fax: 646-349-2914
           Email: gideon@gideonlaw.com

           Jessica S. Massimi (via US Mail & Email)
           Jessica Massimi, Esq.
           99 Wall Street
           Suite 1264
           New York, NY 10005
           646-241-9800
           Email: jessica.massimi@gmail.com
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       Remy Green (via US Mail & Email)
       Cohen & Green
       1639 Centre Street
       Suite 216
       11385
       Ridgewood, NY 11207
       929-888-9480
       Fax: 929-888-9457
       Email: remy@femmelaw.com
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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     -----------------------------------------------------------------------X
     RAYNE VALENTINE,                                                       )   DECLARATION OF
                                                                            )   SERVICE OF ACCEPTANCE
                                                           Plaintiff,       )   OF RULE 68 OFFER OF
                                                                            )   JUDGMENT
              -against-                                                     )
                                                                            )   21-cv-4867 (EK) (VMS)
     THE CITY OF NEW YORK, et al.,                                          )
                                                                            )
                                                           Defendants. )
     -----------------------------------------------------------------------X

             GIDEON ORION OLIVER hereby declares under penalties of perjury:

             1.       I am over 18 years of age and not a party to this action.

             2.       On July 26, 2023, I served the attached July 26, 2023 letter accepting

     Defendants’ Rule 68 Offer of Judgment dated July 13, 2023 on the Office of the

     Corporation Counsel for the City of New York by (1) depositing a true and correct copy

     of the same properly enclosed in a post-paid wrapper in the official depository

     maintained and exclusively controlled by the United States directed to Mary Sherwood,

     Esq., Assistant Corporation Counsel, Special Federal Litigation Division, New York City

     Law Department, 100 Church Street, Room 3-169, New York, New York, 10007; and (2)

     e-mailing the same to opposing counsel Mary Sherwood, Esq. at her Law Department e-

     mail address.

     Dated: Brooklyn, New York
            July 26, 2023



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